

Prinkipas LLC v Charlton Tenants Corp. (2021 NY Slip Op 02475)





Prinkipas LLC v Charlton Tenants Corp.


2021 NY Slip Op 02475


Decided on April 22, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 22, 2021

Before: Acosta, P.J., Renwick, Singh, Moulton, JJ. 


Index No. 653598/19 Appeal No. 13664N Case No. 2020-03412 

[*1]Prinkipas LLC, Plaintiff-Respondent,
vCharlton Tenants Corp. et al., Defendants-Appellants, ABC Management Corp. et al., Defendants.


Boyd Richards Parker &amp; Colonnelli, P.L., New York (Jacqueline L. Aiello of counsel), for appellants.
Law Offices of Robert M. Kaplan, White Plains (Robert M. Kaplan of counsel), for respondent.



Order, Supreme Court, New York County (Alan C. Marin, J.), entered on or about January 28, 2020, which granted plaintiff's motion for a Yellowstone injunction, unanimously affirmed, with costs.
The motion court providently exercised its discretion in granting plaintiff a Yellowstone injunction (see Tag 380 v Sprint Spectrum, 290 AD2d 404 [1st Dept 2002]; see generally Graubard Mollen Horowitz Pomeranz &amp; Shapiro v 600 Third Avenue Assoc., 93 NY2d 508, 514 [1999]). Plaintiff demonstrated that it was prepared and maintained the ability to "cure the alleged default[s] by means short of vacating the premises" (Tag 380, 290 AD2d at 404). The disputed factual issues as to plaintiff's alleged violations of the lease will be resolved in the plenary action (see Boi to Go, Inc. v Second 800 No. 2 LLC, 58 AD3d 482 [1st Dept 2009]).
Particularly in light of plaintiff's extensive expenditures and improvements to the leased premises, the court properly dispensed with the requirement of posting a bond (see WPA/Partners v Port Imperial Ferry Corp., 307 AD2d 234, 237 [1st Dept 2003]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 22, 2021








